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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 UBIQUITI NETWORKS, INC.,

                       Plaintiff,


                  v.

                                            Civil Action No.: 1:18-cv-05369
 CAMBIUM NETWORKS, INC.;
 CAMBIUM NETWORKS, LTD.;                    JURY TRIAL DEMANDED
 BLIP NETWORKS, LLC;
 WINNCOM TECHNOLOGIES, INC.;
 SAKID AHMED; and
 DMITRY MOISEEV

                       Defendants.



      PLAINTIFF UBIQUITI NETWORKS, INC.’S OPPOSITION TO
   DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
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       Plaintiff Ubiquiti Networks, Inc. (“Ubiquiti” or “Plaintiff”) respectfully requests that this

Court deny the Motion to Dismiss (the “Motion”) filed by Defendants Cambium Networks, Inc.,

Cambium Networks, Ltd., Blip Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed and

Dmitry Moiseev (“Defendants”), 1 and states as follows in support thereof.

                                        INTRODUCTION

       Ubiquiti’s First Amended Complaint (“FAC”) states valid causes of action. Previously,

this Court held that Ubiquiti’s original complaint was deficient in one aspect, it failed to provide

Defendants adequate notice of what portions of Ubiquiti’s firmware were owned by Ubiquiti,

and not subject to the GPL, that were allegedly infringed by Defendants. Ubiquiti’s FAC

addresses this concern by specifically identifying, both by function and name, the specific

portions of Ubiquiti’s firmware owned by Ubiquiti, not subject to the GPL, and infringed by

Defendants.    Nothing more is required to state a valid claim for relief.          Notwithstanding

Ubiquiti’s full compliance with the Court’s order and controlling pleading standards, Defendants

filed a renewed motion to dismiss Ubiquiti’s FAC. As detailed herein, Defendants’ Motion is

flawed in multiple respects and should be denied by this Court.

       Defendants argue that they are still unable to determine which portions of Ubiquiti’s

software are at issue. But, this argument is plainly refuted by the specific allegations set forth in

the FAC. Indeed, Defendants’ claim rings particularly hollow given that their own retained

expert apparently had no trouble identifying the files in question and drafting a twenty page

report opining on them. Defendants next argue that the FAC should be dismissed because it

purportedly fails to identify allegedly misused firmware that is not covered by the GPL. Once

again, this claim is plainly refuted by express allegations in the FAC.           While Defendants


1
 Unless otherwise stated, capitalized terms shall have the same meaning as defined in the Motion (Dkt.
No. 69) and Defendants’ Memorandum in Support of Their Motion (Dkt. No. 70, the “Memorandum”).


                                                  1
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repeatedly accuse Ubiquiti of basing its claims on modified GPL software, the FAC makes clear

(and Ubiquiti confirms herein) that its copyright claims are not premised on Defendants’

infringement of software otherwise subject to the GPL but modified by Ubiquiti. And each of

Defendants’ remaining arguments seeking to otherwise attack and/or limit the scope of

Ubiquiti’s claims likewise lack merit. In sum, Defendants’ efforts to have this Court impose an

unprecedented pleading burden on Ubiquiti must be rejected.

       Finally, as detailed herein and in Ubiquiti’s recent Motion to Lift Discovery Stay, the

Court should deny Defendants’ procedurally improper and one-sided request to bifurcate the case

and covert this Motion to one for summary judgment (which request itself implicitly concedes

the sufficiency of Ubiquiti’s allegations and the need for discovery in this action).

       For each and all of these reasons, Defendants’ Motion should be denied in full.

                                  FACTUAL BACKGROUND

       Ubiquiti and Cambium are direct competitors in the wireless networking industry. See

FAC ¶ 1. Since 2009, Ubiquiti’s M-series devices have been used by customers primarily to

provide wireless internet access to consumers. Id. Ubiquiti sells its M-series devices with pre-

installed firmware that operates the devices and ensures they perform as intended by Ubiquiti, as

expected by Ubiquiti’s customers, and as required by federal regulators. Id. This firmware

includes portions that are protectable by Ubiquiti’s copyrights, portions that are protectable by

Ubiquiti’s license agreements, and other portions that are unprotectable due to being used by

Ubiquiti under an open source license, such as the GPL, or are modifications of such GPL

code. Id. at ¶¶ 1, 37, 39.

       Seeking to unlawfully capitalize on Ubiquiti’s development work and to unfairly take

advantage of Ubiquiti’s substantial customer base, Cambium created its own firmware under the




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tradename “Elevate,” which was specifically designed to replace the Ubiquiti’s firmware on

Ubiquiti’s devices. Id. at ¶ 2. Installing Elevate on an Ubiquiti device allows Cambium to reap

illicit license fees while also providing Cambium with a means of inserting its own devices into

Ubiquiti-exclusive wireless networks.      Id. However, in creating, installing, testing and

marketing Elevate, Cambium made unauthorized use of Ubiquiti’s firmware, thereby infringing

Ubiquiti’s copyrights and violating Ubiquiti’s license agreements. Id. at ¶¶ 50-69.

       Independent of Cambium’s unauthorized use of portions of Ubiquiti’s firmware covered

by Ubiquiti’s copyrights and license agreements, Defendants also intentionally made numerous

material misrepresentations and fraudulent omissions in marketing Elevate, including but not

limited to falsely telling customers that (1) installing Elevate removes all existing Ubiquiti

firmware from the Ubiquiti device, (2) installing Elevate does not void the Ubiquiti warranty on

the equipment, and (3) any FCC violations resulting from installing and using Elevate may be

cured by requesting that Ubiquiti provide a new FCC label. Id. at ¶¶ 70-78.

       On the basis of the allegations and claims set forth in the FAC, Ubiquiti has brought this

action to enjoin Defendants from further harming Ubiquiti and to obtain compensation for the

damages that Ubiquiti has suffered and will continue to suffer as a result of Defendants’

wrongful conduct. Id. at ¶ 6; see also id. at ¶¶ 120-299 (Counts I-XI).

                                  PROCEDURAL POSTURE

       Defendants moved to dismiss Ubiquiti’s initial Complaint primarily on the ground that it

supposedly failed to provide Defendants with sufficient fair notice of which portions of

Ubiquiti’s firmware were owned by Ubiquiti and not subject to an open source license. See Dkt.




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No. 33 at 15-18. In addition, Defendants moved to dismiss the other 14 causes of action asserted

by Ubiquiti on the basis of certain additional arguments. Id. at 21-36. 2

       The Court denied in part and granted in part Defendants’ motion to dismiss. See Dkt. No.

59 (“5/22/19 Order”). Specifically, the Court denied Defendants’ standing arguments under Rule

12(b)(1), but granted Defendants’ motion to dismiss under Rule 12(b)(6) without prejudice. Id.

at 10. In its ruling, the Court focused solely on Defendants’ fair notice argument related to

Ubiquiti’s copyright infringement claim, and directed Ubiquiti to file an amended complaint that

“spells out at least the general nature of its allegedly misused firmware that is not covered by the

GPL and other open source software licenses” so that Defendants would have “adequate notice

of Ubiquiti’s claims.” Id. at 9.

       Ubiquiti then filed a FAC that expressly defines three main terms used to identify which

portions of Ubiquiti’s Firmware are at issue for each individual claim being pled, as follows:

           •   Firmware – The FAC defines “Firmware” as the entirety of Ubiquiti’s airOS
               operating system embodied in Ubiquiti’s AirMAX products. See FAC ¶ 25.

           •   Registered Firmware – The FAC defines “Registered Firmware” as the portion of
               the Firmware that constitutes original authorship by Ubiquiti and covered by
               Ubiquiti’s copyright registrations. Id. at ¶ 33. It does not include any code
               Ubiquiti licenses from third parties, including code licensed to Ubiquiti under the
               GPL. Id. at ¶¶ 34-35. With respect to third party code that Ubiquiti modifies, the
               Registered Firmware only includes modifications Ubiquiti makes to third party
               code “that are not subject to the GPL”. Id. at ¶ 35. Thus, Registered Firmware
               does not include code Ubiquiti received under the GPL and modified. The
               Registered Firmware is the basis for Ubiquiti’s copyright claims. Id. at ¶ 33.

           •   Proprietary Firmware – The FAC defines “Proprietary Firmware” as (1) the
               entirety of the Registered Firmware; (2) Ubiquiti’s proprietary compilations of
               data contained in its calibration and configuration files in the Firmware; and (3)
               code Ubiquiti licenses from third parties (other than the GPL or other open source
               licenses). Id. at ¶ 39. Thus, Proprietary Firmware includes not only the code that
               Ubiquiti has copyright protection for but also other code and information that


2
 Defendants have omitted these additional arguments from their motion to dismiss the FAC. Thus, as
detailed infra at Part II, the Motion is not dispositive of these non-copyright claims.


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                Ubiquiti can protect through contract. The Proprietary Firmware is the basis for
                Ubiquiti’s breach of contract, CFAA, and DMCA claims. Id.

In accordance with the Court’s instructions, the FAC “spells out” the nature of the misused

firmware that is not covered by the GPL and other open source software licenses. As detailed in

the FAC, Ubiquiti’s copyright claim is based on Ubiquiti’s Registered Firmware, which is

comprised of nine specific software modules identified based on their function and names:

        (i)     AirMAX® 3 radio protocol and wireless drivers (ubnthal and ubnt-regd);

        (ii)    web user interface (ubnt-web and ubnt-cgi)

        (iii)   polling (ubnt-poll);

        (iv)    spectral analysis module (ubnt-spectral and ubnt- spectral-2);

        (v)     configuration (ubnt-regd, ubntbox, and ubntconf_cl.sh);

        (vi)    various utilities (ubntbox and ubnt-3g) related to, among other things,
                configuration, calibration, discovery tools, and boot code;

        (vii)   base files (ubnt-base-files) related to, among other things, support utilities
                and scripts and configuration parameters;

        (viii) power over Ethernet (ubnt-poe-control); and

        (ix)    modifications to the bootloader for AirOS provided by Atheros (ar7240-u-
                boot.rom; ubntxm-u-boot.rom; ubntxn-400-u-boot.rom; ubntwasp-u-
                boot.rom; ubnttitanium-u-boot.rom). 4




3
  Defendants make reference to a licensed-in AirMAX component being both a “licensed-in” material and
also asserted to be part of the Registered Firmware. See Mem. at 8. As this component is not alleged by
Defendants to be covered by the GPL, it is irrelevant to the Motion. However, as the FAC makes clear,
the “AirMAX radio protocol and wireless drivers specific to Atheros (Atheros-11n and related packages)”
are part of the Proprietary Firmware, but other “AirMAX radio protocols and wireless drivers (ubnthal
and ubnt-reg)” were created by Ubiquiti and are part of Ubiquiti’s Registered Firmware. FAC ¶¶ 37, 39.
4
  In Defendants’ opposition to Ubiquiti’s motion to lift the stay, Defendants repeatedly argue that there is
confusion on whether the Registered Firmware includes 9 or 18 packages/modules. See, e.g., Dkt. No. 75
at 9. There is no such confusion. The Registered Firmware consists of the nine functional areas
identified, which includes a total of 18 code packages or modules. This is because some of the functional
areas (such as the web user interface) include more than one package or module (ubnt-web and ubnt-cgi).


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FAC ¶ 37. Ubiquiti has expressly alleged that each of these modules are “original authorship by

Ubiquiti” (id. at ¶ 33), “exclude code authored by third-parties” (id. at ¶ 34), and only include

“modified licensed-in materials from third parties that are not subject to the GPL” (id. at ¶ 35).

       Defendants filed a motion to dismiss the FAC, again claiming lack of notice of the

specific software at issue. For the reasons set forth herein, the Motion should be denied.

                                     LEGAL STANDARDS

       A motion under Rule 12(b)(6) challenges the sufficiency of a complaint to state a claim

upon which relief may be granted. See Hillinan v. Fraternal Order of Police of Chicago Lodge

No. 7, 570 F.3d 811, 820 (7th Cir. 2009). To avoid dismissal, a complaint need only set forth “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ.

P. 8(a)(2). Rule 8(a) requires the plaintiff “give the defendant fair notice of what the … claim is

and the grounds upon which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). To satisfy this requirement, a plaintiff

need not plead “detailed factual allegations,” Twombly, 550 U.S. at 570, as this rule reflects a

“liberal notice pleading regime, which is intended to ‘focus litigation on the merits of a claim’

rather than on technicalities that might keep plaintiffs out of court.” Bank of America, N.A. v.

Shelbourne Development Group, Inc., 732 F.Supp.3d 809, 814 (N.D. Ill. 2010) (internal citations

omitted); see Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010) (“it is not necessary

to stack up inferences side by side and allow the case to go forward only if the plaintiff’s

inferences seem more compelling than the opposing inferences”).

       Factual allegations will survive dismissal where they “raise a right to relief above the

speculative level” that is “facially plausible.” Twombly, 550 U.S. at 555. A “claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable




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inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009).     In evaluating this standard, a district court is required to construe the

allegations “in the light most favorable to the nonmoving party, accept well-pleaded facts as true,

and draw all inferences in her favor.” Reynolds v. CB Sports Bar, Inc., 623 F.3d 1143, 1146 (7th

Cir. 2010) (citations omitted). In deciding the sufficiency of the pleading under Rule 12(b)(6),

the Court may also consider “documents attached to the complaint, documents that are critical to

the complaint and referred to in it, and information that is subject to proper judicial notice,”

along with additional facts set forth in the opposition that “are consistent with the pleadings.”

Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1020 (7th Cir. 2013). Significantly,

however, as detailed infra at Part I.D.1, this rule allowing a district court to consider materials

outside the pleadings is not without limits. Furthermore, these sources must also be construed in

favor of Ubiquiti as the non-movant under Rule 12(b)(6). See Phillips, 714 F.3d at 1020.

                                          ARGUMENT

I.       Ubiquiti’s Copyright Claims Are Not Barred By The GPL Or Other Open Source
         Software Licenses.

         Ubiquiti’s copyright claims provide Defendants with adequate notice of the claims being

asserted, and contrary to Defendants’ characterizations, are not based on modified GPL code.

The FAC specifically identifies by name and function each portion of Ubiquiti’s Firmware that

Defendants have infringed, and alleges that it is not subject to the GPL. Nothing more is

required to state a valid claim for relief. Put simply, the allegations in the FAC establish that (1)

Ubiquiti has provided adequate notice of its copyright infringement claim, (2) Ubiquiti is not

asserting copyright infringement for any modifications Ubiquiti made to code received by

Ubiquiti under the GPL, (3) Ubiquiti’s claims are not bound by the exemplary statements made

at the prior hearing, and (4) Ubiquiti’s Registered Firmware forming the basis of its copyright



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claims is not covered by the GPL. Defendants other collateral attacks are equally unavailing, as

a filtration analysis is not required at the pleading stage, Ubiquiti’s breach of contract claim is

not deficient merely because it is based on both copyrighted and non-copyrighted material, and

nothing bars Ubiquiti from adding an additional copyright claim in the FAC, never before pled,

based on a copyright registration Ubiquiti obtained after it filed its original Complaint.

Accordingly, Defendants’ motion to dismiss Ubiquiti’s copyright claims should be denied.

   A.      Ubiquiti Has Provided Adequate Notice Of Which Portions Of Its Software Are
           Copyrighted.

        The FAC identifies the portions of Ubiquiti’s Firmware that are owned by Ubiquiti, not

subject to the GPL, and are infringed by Defendants. Nevertheless, Defendants claim that

Ubiquiti has failed to state a valid cause of action because the FAC purportedly does not define

the terms “propriety user interface,” “configuration code,” “calibration code,” or “AirMAX

platform.” See Mem. at 2, 20. In fact, the FAC expressly identifies the specific source code

modules as follows:

        Original Complaint                                     FAC ¶ 37

“proprietary user interface”          “web user interface (ubnt-web and ubnt-cgi)”

                                      “configuration (ubnt-regd, ubntbox, and ubntconf_cl.sh)”
                                      “base files (ubnt-base-files) related to, among other things,
                                      support utilities and scripts and configuration parameters”
“configuration code”
                                      “various utilities (ubntbox and ubnt-3g) related to, among
                                      other things, configuration, calibration, discovery tools,
                                      and boot code”

                                      “various utilities (ubntbox and ubnt-3g) related to, among
“calibration code”                    other things, configuration, calibration, discovery tools,
                                      and boot code”

                                      “AirMAX radio protocol and wireless drivers (ubnthal and
“AirMAX platform”
                                      ubnt-regd)”




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       While Defendants assert they were forced to “go on a scavenger hunt” to “identify the

gold coin, if any, from the bucket of mud” (Mem. at 20-21), all of this information is contained

in one succinct paragraph of the FAC. See FAC ¶ 37. Not surprisingly, Defendants’ retained

expert apparently had no difficulty zeroing in on the specific software modules at issue and, if he

was to be believed, could actually render expert opinions on them. Regardless of their merit,

these purported opinions amply illustrate the frivolity of Defendants’ position on this point.

       B. Ubiquiti Is Not Asserting Copyright Infringement For Any Modifications
          Ubiquiti Made To Code Received By Ubiquiti Under The GPL.

       Defendants devote a substantial portion of their brief to setting up, and then knocking

down, the strawman argument that Ubiquiti’s copyright claims are barred because they may be

based on modifications to software licensed under the GPL, modifications which themselves also

would be subject to the terms of the GPL. As Ubiquiti’s FAC makes clear, however, Ubiquiti

does not claim copyright in any modifications to software licensed under the GPL. And, given

the extremely factual nature of the issue, it would be plain error for this Court to attempt to

resolve on a motion to dismiss whether and to what extent any software alleged to serve as the

basis of Ubiquiti’s FAC actually is nothing more than a mere modification of GPL code. Rather,

Ubiquiti’s well-pled factual allegations must be accepted as true at this stage. Accordingly,

Defendants’ motion to dismiss Ubiquiti’s copyright claims on this basis should be denied.

       Contrary to Defendants’ assertions, the FAC specifically identifies nine software code

modules (by both name and functionality), which Ubiquiti owns valid copyrights to, that

Defendants have infringed. See FAC ¶ 37. The FAC makes clear that Ubiquiti is excluding

from these nine modules any code Ubiquiti licensed under the GPL or other open source

licenses. Id. at ¶¶ 34-35. Further, the FAC expressly alleges that the only modifications to third

party code that Ubiquiti is asserting as part of its copyright claim are modifications to code “from



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third parties that are not subject to the GPL.” Id. at ¶ 35. Finally, Ubiquiti has alleged that the

nine asserted modules are original works of authorship of Ubiquiti, not covered by a GPL

license, and not modifications to code Ubiquiti received under a GPL license. Nothing more is

required under applicable pleading standards.

        The only case Defendants cite in support of their dubious argument, Synopsys, Inc. v.

ATopTech, Inc., No. C 13-CV-02965 SC, 2013 WL 5770542 (N.D. Cal. Oct. 24, 2013), is not to

the contrary. Unlike the instant action, in Synopsys, the plaintiff’s complaint acknowledged that

portions of its software were subject to the GPL, but failed to identify any specific portions of the

software that were not open source. Nonetheless, because the complaint did identify “input and

output formats” generally, the court held the description sufficient at the pleading stage to satisfy

Rule 8, and granted plaintiff leave to identify any other infringed portions of the software code

that were not open source. Id. at *4. 5 Ubiquiti’s identification of nine specific software modules

is far more specific than the allegations in Synopsis.              Accordingly, rather than support

Defendants’ argument for dismissal, Synopsis undermines it entirely.                   For this reason,

Defendants’ Motion should be denied. 6

        C. Ubiquiti Is Not Bound By Its Original Complaint Or Exemplary Statements
           Made During The December 11, 2018 Hearing.

        Citing no authority, Defendants next argue that the scope of Ubiquiti’s copyright claim

should somehow be limited by certain statements made to the Court by Ubiquiti’s prior counsel

regarding Ubiquiti’s original complaint. See Mem. at 25. Defendants are wrong.


5
  Notably, the Synopsis court also denied defendant’s motion to dismiss based on the alleged
uncopyrightability of “input and output formats” finding that the resolution of such an issue needs to be
decided after the record has been fully developed and not at the pleading stage. Id. at *5.
6
  In the event the Court finds that Ubiquiti’s FAC is unclear on this point, the appropriate remedy would
be to allow Ubiquiti an opportunity to amend the complaint to clarify its position, rather than dismiss the
FAC with prejudice. See Fed. R. Civ. P. 15(a); Foman v. Davis, 371 U.S. 178, 182 (1962); see also
infra at Part IV.


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        As a preliminary matter, “[i]t is well-established that an amended complaint supersedes

an original complaint, and facts or admissions from the original complaint not incorporated into

the amended complaint cannot be considered on a motion to dismiss.” McNeal v. Cook County

Sheriff's Dept., 282 F. Supp. 2d 865, 867 (N.D. Ill. 2003) (citing Kelley v. Crosfield Catalysts,

135 F.3d 1202, 1204-05 (7th Cir. 1998)).           For this reason alone, the scope of Ubiquiti’s

copyright claims as set forth in its original Complaint cannot constitute a binding judicial

admission limiting the scope of its FAC. See, e.g., 188 LLC v. Trinity Indus., Inc., 300 F.3d 730,

736 (7th Cir. 2002) (holding that withdrawn pleadings are not judicial admissions).

        Moreover, the statements made by Ubiquiti’s prior counsel were exemplary in nature, and

in no way constitute judicial admissions limiting the scope of its claims. “A judicial admission is

a statement, normally in a pleading, that negates a factual claim that the party making the

statement might have made or considered making.” Robinson v. McNeil Consumer Healthcare,

615 F.3d 861, 872 (7th Cir. 2010). In the Motion, Defendants cherry-pick portions of the prior

hearing transcript in arguing that Ubiquiti’s counsel made certain alleged judicial admissions.

See Mem. at 25. A complete review of the transcript finds Ubiquiti’s counsel was, in response to

this Honorable Court’s questioning, supplying “examples” of the protected software

undergirding Ubiquiti’s copyright infringement claims that had been identified in the original

Complaint, which statements were not made at the exclusion of other claims based on Firmware

not subject to the GPL. See generally Mem. Ex. 1, at pgs. 13-18.                  Such exemplary oral

statements made in response to a court’s questions cannot constitute judicial admissions. 7



7
  See, e.g., McCaskill v. SCI Management Corp., 298 F.3d 677, 682 (7th Cir. 2002) (counsel’s response to
hypothetical posed by court during oral argument was not the sort of deliberate, clear, and unambiguous
statement evincing an intentional waiver that has been held sufficient to constitute a judicial admission)
(citing Moose Lodge No. 107 v. Irvis, 407 U.S. 163, 170 (1972) (“we are loath to attach conclusive weight
to the relatively spontaneous responses of counsel to equally spontaneous questioning from the Court


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         Accordingly, the scope of Ubiquiti’s copyright claims must be determined based on the

allegations set forth in the FAC, and not via the superseded allegations of the original Complaint.

    D.      The Registered Firmware Is Not Covered By The GPL.

         The FAC identifies specific components of the Registered Firmware that are not covered

by the GPL. See FAC ¶¶ 33-37. Defendants nevertheless contend that these components are

covered by the GPL based on material referenced on Ubiquiti’s website (the SDK and GPL

Archive) and the purported findings set forth in a declaration of Defendants’ retained expert, Jeff

Fischer (the “Fischer Declaration”). See Mem. at 2, 15-20. These materials should not be

considered at the pleading stage. However, even if they were, the conclusory opinions offered

by Fischer are fundamentally flawed and should be rejected.

         1. The SDK, GPL Archive, And Fischer Declaration Do Not Provide A Valid Basis
            For Dismissing The FAC.

         Defendants’ Motion includes extensive discussion of Ubiquiti’s software development kit

(“SDK”) and GPL archive, as well as the Fischer Declaration. None of these external sources of

information are part of the FAC, incorporated by reference in the FAC, or appropriate to

consider in determining whether Ubiquiti has stated a valid cause of action.

         The rule allowing a district court to consider materials outside the pleadings is not

without limits. 8 Where, as here, a defendant attaches documents to its motion to dismiss, they

may only be considered “if they are referred to in the plaintiff’s complaint and are central to his




during oral argument”)); React Presents, Inc. v. Sillerman, No. 16 C 3790, 2016 WL 4479569, at *3
(N.D. Ill. Aug. 25, 2016) (“Seventh Circuit authority plainly precludes twisting … impromptu statements
into a binding judicial admission”).
8
 See, e.g., Levenstein v. Salafsky, 163 F.3d 345, 347 (7th Cir. 1998) (the rule reflects a “narrow exception
aimed at cases interpreting, for example, a contract,” and is not a “license to ignore distinctions between
motions to dismiss and motions for summary judgment”); Rosenblum v. Travelbyus.com Ltd., 299 F.3d
657, 661 (7th Cir. 2002) (“This court’s precedent makes clear that this rule includes a limited class of
attachments to Rule 12(b)(6) motions”).


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claim.” Wright v. Associated Ins. Companies Inc., 29 F.3d 1244, 1248 (7th Cir. 1994); Elward v.

Electrolux Home Prod., Inc., 264 F. Supp. 3d 877, 886 (N.D. Ill. 2017) (holding that both

elements must be present). And even then, where documents introduced by the defendant raise a

factual dispute on which discovery is required, dismissal under Rule 12 is improper. See id. As

a result, the Seventh Circuit discourages a defendant from attaching a “document in support of

his Rule 12(b)(6) motion that require[s] discovery to authenticate or disambiguate; in such a case

the judge would be required to convert the defendant's motion to a Rule 56 motion if he were

minded to consider the document in deciding whether to grant the motion.” Tierney v. Vahle,

304 F.3d 734, 739 (7th Cir. 2002).

        Prior to analyzing the impropriety of Defendants’ attempts to rely upon external materials

in violation of this standard, it is first necessary to clarify certain matters related to the

information at issue. The SDK and GPL Archive are not synonymous. The SDK, which

Defendants contend was made available by Ubiquiti from 2011-2013, is a set of software tools

made available to the developer community.             As shown in the screenshot submitted by

Defendants, only portions of the SDK (just like the Firmware) are covered by the GPL or other

open source license. See Mem. Ex. 4. In contrast, the GPL Archive is a repository for those

portions of Ubiquiti’s Firmware that are covered by the GPL, and therefore, must be made

publicly available under the terms of that license. See Mem. Ex. 5 (Ubiquiti website providing

link to GPL Archive); Ex. 7 § 3 (GPL version 2); Mem. Ex. 8 § 6 (GPL version 3). 9 The GPL



9
  Defendants are wrong to claim that Ubiquiti “stopped allowing for public access to its GPL Archives”
by hiding it behind its EULA. To download the various versions of the Firmware, users are asked to
accept Ubiquiti’s EULA. See Mem. Ex. 3. However, as Defendants themselves point out, that EULA
specifically says its terms do not apply to any code covered by the GPL. See Mem. Ex. B at 3-4, Ex. C at
5. Thus, a user accepting the EULA simply to access and use the GPL code is not bound by any of its
terms with respect to that GPL code. Moreover, Defendants lack standing to assert any alleged breaches
of the GPL license by Ubiquiti.


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Archive includes third party code Ubiquiti received under the GPL as well as modifications

Ubiquiti made to that code. Because none of the code identified in FAC ¶ 37 is subject to the

GPL, none of that code is included in the GPL Archive submitted as part of Cambium’s motion.

See Fischer Decl. Ex. F. 10

         It would be plain error to consider statements made on Ubiquiti’s website (as part of the

SDK or GPL Archive) or any of the analysis of Defendants’ expert in determining whether

Ubiquiti stated a valid claim for copyright infringement. Ubiquiti’s attachment of the FULA and

EULA to the Amended Complaint does not justify consideration of material appended to

Defendants’ motion that is not (1) specifically referenced in the FAC, and (2) central to

Ubiquiti’s claim. See Elward, 264 F. Supp. 3d at 886; see also Reese v. Hammer Fin. Corp., No.

99 C 0716, 1999 WL 1101677, *3 (N.D. Ill. Nov. 30, 1999) (where document attached to a

motion to dismiss “may be ‘central’ to defendant’s defense of the [plaintiff’s] allegations, it does

not meet the narrow exception of documents considered part of the pleadings”). For example,

Defendants’ attachment of screenshots from Ubiquiti’s website should be disregarded as they are

neither specifically referenced in the FAC nor central to Ubiquiti’s claims. See, e.g., Facebook,

Inc. v. Teachbook.com LLC, 819 F.Supp.2d 764, 773 (N.D. Ill. Sept. 25, 2011) (“website

printouts are not the type of documents that may be properly considered as central to Facebook’s

claim…allowing [movant] to cherry pick portions of Facebook’s website to introduce via a

motion to dismiss simply because the complaint indicates the two websites would convert an

examination of the complaint into a full-blown summary judgment analysis”); Flentye v.

Kathrein, 485 F. Supp. 2d 903, 917 (N.D. Ill. 2007) (declining to consider excerpted printouts


10
   Defendants try to make much of the fact that various “uboot” files are in the GPL Archive. See Mem.
at 11. However, Cambium does not point to any of the thousands of files that comprise the “ar7240-u-
boot.rom,” “ubntxm-u-boot.rom,” “ubntxn-400-u-boot.rom,” “ubntwasp-u-boot.rom,” or “ubnttitanium-u-
boot.rom” modules identified by Ubiquiti as part of the Registered Firmware. See FAC ¶ 37.


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from a website where they were not the entirety of challenged publications referred to in the

complaint).

       Likewise, it is well established that this Court should not consider the alleged expert

opinions set forth in the Fisher Declaration, or its hundreds of pages of supporting exhibits

(including a purported “digest of information” from Ubiquiti’s Open Source Archive), at this

early pleading stage. See DeMarco v. DepoTech Corp., 149 F. Supp. 2d 1212, 1221 (S.D. Cal.

2001) (“considering an expert affidavit on a motion to dismiss, whether attached to a motion to

dismiss or as an exhibit [to] the plaintiff’s complaint, forces a district court to confront a myriad

of complex evidentiary issues not generally capable for resolution at the pleading state” and

“would so complicate the procedural posture of a motion to dismiss that it would become

virtually indistinguishable from a motion for summary judgment”); In re Silicon Storage Tech.,

Inc., Sec. Litig., No. C-05-395 PJH, 2007 WL 760535, at *30 (N.D. Cal. Mar. 9, 2007) (“well-

established that courts should not consider an expert or other affidavit submitted in support of a

Rule 12(b)(6) motion to dismiss, unless the parties have agreed that the motion will be treated as

a motion for summary judgment”).

       Finally, while the Court previously concluded that it was proper to consider the GPL

because it is expressly incorporated into Ubiquiti’s licenses and central to its claims (see 5/22/19

Order at 5), this general consideration of the GPL does not justify abandoning Ubiquiti’s right to

have is well-pled factual allegations accepted as true for purposes of deciding Defendants’

motion to dismiss. It also does not provide carte blanche to consider all facts potentially related

to the GPL (including, out-of-context statements made on Ubiquiti’s website, the contents of

Ubiquiti’s SDK, the license applicable to any specific file in Ubiquiti’s SDK, the contents of

Ubiquiti’s GPL Archive, what portions of the GPL Archive are subject to third party GPL




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rights), or the disputed findings of Defendants’ retained expert included in the Fischer

Declaration, to determine whether the FAC states a valid claim for relief.

         2. The Fischer Declaration Is Fundamentally Flawed.

         As detailed herein and explained further in the declaration of Michael Fenn recently

submitted in support of Ubiquiti’s motion to lift the stay on discovery (Dkt. No. 72, Ex. A, herein

the “Fenn Decl.”), 11 the purported opinions in the Fischer Declaration are inherently flawed and

disputed by Ubiquiti because: (i) Fischer did not have the data necessary to perform an actual

analysis of the code; (ii) the name of a file does not allow comparison of the underlying source

code; (iii) in many cases Fischer can only point to object code, not source code, released in the

SDK; (iv) the presence of code in the SDK does not mean it is subject to the GPL; and (v) the

SDK contains identifications that certain files are identified as proprietary to Ubiquiti, and the

failure to identify third party GPL code used by Ubiquiti for these files means Ubiquiti never

agreed to also release future derivatives of their own work under the GPL.

         i.     No Analysis of Necessary Data: As an initial matter, Fischer simply does not

have the information necessary to opine on whether the source code forming the basis of

Ubiquiti’s claims (which he has never seen) is identical or a derivative of any source code

available under an open source license. (Fenn Decl. ¶ 12.) At a minimum, a reasonably

competent expert would have to review the source code for the items the expert is attempting to

compare to other sources. (Id.)

         ii.    Erroneous Assumptions as to Name Comparisons: In reaching his conclusions,

Fischer also relies on numerous assumptions that are false and unsupported by the underlying


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  Ubiquiti submits the consideration of any expert declarations is improper at this stage for the reasons
set forth supra at Part I.D.1. Nevertheless, to the extent that the Court does consider such material,
Ubiquiti incorporates by reference the previously filed Fenn Declaration to highlight the errors and
fundamentally flawed nature of Fischer’s alleged expert findings.


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data to which he does have access.          For instance, Fischer’s opinions are premised on his

comparison of the source code packages identified by Ubiquiti in the FAC against code in

Ubiquiti’s SDK release that contains a part of that same name.               (Fenn Decl. ¶ 13.)     In

undertaking this comparison, Fischer simply assumes that because portions of Ubiquiti’s SDK

release contain code with similar names to source code packages identified by Ubiquiti in the

FAC, they must somehow be are covered by GPL. There is no valid basis for making this

assumption. For example:

       •      The FAC identified a package “ubnt-3g”. In his analysis, Fischer merely searched the
              SDK for any file with the letters “3g”, and in his declaration Fischer incorrectly states
              that the “match” is different and unrelated file called 30-3g.

       •      The FAC identified a file “ubntconf_cl.sh”. In his declaration, Fischer points to a
              different file “ubntconf” as the “match”. However, this is not a match and the file
              identified by Fischer is simply one of the files called by the file named in the FAC.

       •      The FAC identified a package “ubnt-poe-control”. Fischer assumes poe means
              “power over internet” and identifies the “likely match” as a file called “advanced.cgi”
              because it contains part of the user interface for turning on power of internet.
              However, this is not a match and the file identified by Fischer is not the code for
              implementing the power over internet functionality.

(Id.) Fischer’s overly simplistic analysis is rife with error and provides no valid basis for calling

any of Ubiquiti’s complaint allegations into question. Yet, this is precisely the type of spurious

“evidence” Defendants seek to convince this Court into accepting as true as a matter of law in

either dismissing Ubiquiti’s FAC, or barring Ubiquiti from taking discovery on its claims.

       iii.      Object Code vs. Source Code: Fischer incorrectly opines that human readable

source code identified in the FAC (which he does not have access to) is a “match” for unreadable

object code in the SDK (as the SDK does not include source code). Fischer takes the names of

various source code packages identified in the FAC (such as ubnt-spectral, ubnt-spectral-2, ubnt-

poll, and ubnt-regd), and identifies object code with similar names found in the SDK. However,




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Fischer does not point to any source code in the SDK that is similar or a “match” to the actual

source code identified by Ubiquiti. (Fenn Decl. ¶¶ 17-18.)

       iv.      Ubiquiti Did Not License All Of Its SDK Code Under The GPL: Fischer also

incorrectly opines that all of the code released in the SDK is subject to the GPL. As clearly set

forth in the download page for the SDK that was included as Exhibit A to Fischer’s own

declaration, only “some of the software in the firmware is licensed under the GNU General

Public License and other Open Source and Free Software licenses.” (Fischer Decl., Ex. A

(emphasis added)). Fischer fails to offer any explanation for why he ignores this fact, and it

undermines his analysis entirely. The fact that Ubiquiti only released some of its SDK code

under the GPL (with specific source code files identifying the GPL) means that it is simply

incorrect to opine that all of the SDK has been released by Ubiquiti under the GPL.

       More fundamentally, in determining whether the object code found by Fischer is a

“match” to the source code identified in the FAC, a reasonably competent expert in this field

would have run a string analysis to determine whether the object code found in the SDK

identified what license was applicable to it. While object code is generally unreadable, a string

analysis allows the identification of human readable portions. (Fenn Decl. ¶¶ 19-22.) This string

analysis would have been especially prudent in light of Ubiquiti’s express representation that

only some items in the SDK are covered by the GPL, and would have revealed that the files that

Fischer identified expressly state that they are proprietary to Ubiquiti and not covered by the

GPL. For example, the object code in the SDK for the “ubnt-spectral” package identified in the

FAC states:

             license: Proprietary
             description: Ubiquiti Spectral Analysis Module
             author: Ubiquiti Networks, Inc.




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In contrast, a non-asserted GPL licensed file in the SDK states:

            license: GPL
            description: Signal display (printk) module for madwifi
            author: UBNT, kaleda

(Id.) Fischer nevertheless ignores this material distinction.

       v.      False Assumptions as to GPL Coverage: Fischer also incorrectly assumes that the

release of a Ubiquiti written file under the GPL requires Ubiquiti to release all further derivatives

under the GPL. While releasing a file under the GPL means that someone else using that file

agrees to also release derivatives they create under the GPL, neither Defendants nor Fischer

point to any section of the GPL that obligates the Licensor (here Ubiquiti) to release all future

derivatives of their own work under the GPL. Thus, where Ubiquiti has released its own works

under the GPL (not work Ubiquiti itself bases on code Ubiquiti received under the GPL), the

mere fact that Fischer can point to a prior version being released by Ubiquiti under the GPL has

no relevance to the rights Ubiquiti has in protecting a later version of that same file. Fischer’s

Declaration makes no attempt to opine that any of the files identified in the FAC were written by

Ubiquiti based on code Ubiquiti received from a third party under the GPL. (Fenn Decl. ¶¶ 15-

16.) Thus, it is incorrect for Fischer to conclude that the presence of a similar file in the SDK,

even if covered by the GPL, means that all derivatives of those files are also covered by the GPL.

       In sum, Ubiquiti has specifically identified the Registered Firmware it asserts copyright

ownership to, which is not subject to a GPL license, and which Defendants have infringed. It is

apparent that one of the defenses Defendants will be pursuing in this case is a defense that

certain portions of Registered Firmware are covered by the GPL. Not only is this issue going to

be the subject of discovery, both fact and expert, but is an issue for the ultimate fact-finder to




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decide. It would be improper to require Ubiquiti to prove the ultimate merits of it case at this

time. Accordingly, Defendants’ motion to dismiss should be denied.

     E.      A Filtration Analysis Is Not Required To Plead A Valid Cause Of Action.

          Defendants maintain the FAC should be dismissed unless it can satisfy a “filtration

analysis.” See Mem. at 22. However, a filtration test is uncalled for when, as here, the allegation

is not that Elevate infringes Ubiquiti’s copyrights, but rather, that Defendants’ development,

testing, installation and marketing of Elevate runs the Ubiquiti Firmware itself, thereby

infringing Ubiquiti’s copyrights in the Registered Firmware. A filtration test related to the fact-

intensive affirmative defenses of efficiency or scenes a faire would be relevant only if Ubiquiti

was asserting that Elevate itself was an unauthorized derivative of the Ubiquiti Firmware.

However, the FAC does not make any such allegation. 12 Instead, Ubiquiti’s infringement claim

is based on Defendants’ use of the Registered Firmware in developing, testing, installing and

marketing Elevate. As an analogy, while a filtration test might be useful in a case where one

book is alleged to infringe the book of another author (comparing similar themes, character

names, sequence of events, etc.), such an analysis is not required if a defendant is simply

photocopying the plaintiff’s book (or running Ubiquiti’s Firmware).

          None of the cases cited by Defendants suggest otherwise. For instance, in Ford Motor

Company, the court granted summary judgment to the defendant where the defendant’s expert

concluded that the copied portions of the software comprised open source software and thus were

not “original” to plaintiff. See Ford Motor Co. v. Versata Software, Inc., 15-CV-10628, 2019

WL 355638, *5 (E.D. Mich. Jan. 29, 2019). In that case, the plaintiff failed to identify which



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   Ubiquiti does not yet have access to the Elevate source code. Should discovery reveal that Elevate is
itself derived from Ubiquiti’s firmware, Ubiquiti reserves the right to seek leave to amend the complaint
to make this assertion.


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portions of the software, if any, were not covered by open source. Id. Here, not only are

Defendants’ expert opinions severely deficient (as explained supra), but Ubiquiti has conducted

a filtration of open source materials in the FAC by excluding them, and modifications of them,

from the Registered Firmware and specifically identified the nine portions of the Firmware that

result after this filtration.

         Moreover, all of the cases cited by Defendants are in the context of a summary judgment,

after there has been extensive factual discovery and expert testimony about what elements are

proper to abstract and filter out.    None of that work has yet been done in this case, and

Defendants cannot point to a single authority suggesting that evaluating a complaint in light of a

filtration test is appropriate on a Rule 12(b)(6) motion. The FAC asserts that the Registered

Firmware is original authorship of Ubiquiti and entitled to copyright protection. See FAC ¶ 33.

Nothing more is required at the pleading stage, especially a detailed type of expert report

conducting a full filtration test that Defendants appear to suggest Ubiquiti should have included

as part of the FAC. Regardless, the FAC actually meets the filtration test because it expressly

alleges that the Registered Firmware is original to Ubiquiti, and filters out code subject to the

GPL or other open source licenses. Accordingly, Defendants’ Motion should be denied.

    F.       Ubiquiti’s Breach Of Contract Claim Need Not Be Limited To Copyrighted
             Software.

         Defendants next contend that Ubiquiti is improperly asserting copyright infringement

over “proprietary compilations of data in the configuration and calibration files” because “data

and information are not protectable.”       Mem. at 2.      While Ubiquiti asserts a copyright

infringement claim related to certain protectable code related to the configuration and calibration

functions (as identified in the above chart), Ubiquiti is not alleging copyright infringement over

mere “proprietary compilations of data in the configuration and calibration files.” This phrase



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does not appear in the FAC in either the portion of the complaint identifying the Registered

Firmware or in Ubiquiti’s copyright infringement claim. Instead, as the FAC makes clear, the

“proprietary compilations of data in the configuration and calibration files” is part of the

“Proprietary Firmware” which forms the basis of Ubiquiti’s breach of contract, CFAA, and

DMCA claims. FAC ¶ 39. Indeed, Defendants’ citation is to the breach of contract claim, not

the copyright infringement claim. See Mem. at 2 (citing FAC ¶ 122). While proprietary data

alone may not be protectable under copyright, it is fully protectable under contract law.

        In a similar vein, Defendants take issue with the fact that Ubiquiti includes material it has

licensed from Atheros as part of the “Proprietary Firmware.” See Mem. at 9, 16. As this

Atheros material is not part of the defined Registered Firmware, it is not a part of Ubiquiti’s

copyright claim and Ubiquiti is not claiming ownership of it. Instead, it is explicitly part of the

Proprietary Firmware for which Ubiquiti has asserted a breach of contract claim. See FAC ¶ 39.

There is nothing improper about placing contractual limits on Defendants’ use of code Ubiquiti

has received under a license from Atheros. Accordingly, Defendants’ motion to dismiss on these

grounds lacks merit and should be denied.

   G.      The Addition Of A New Copyright Claim In The FAC Is Proper.

        In a brief aside in the Motion, Defendants take issue with the FAC having added a new

copyright infringement claim based on Ubiquiti’s airOS 6.0 Firmware, which was registered by

the Copyright Office after the filing of the original Complaint and therefore included for the first

time in Ubiquiti’s FAC.      See Mem. at 9, n.7; FAC ¶ 35.         Specifically, Defendants argue

Ubiquiti’s airOS 6.0 claim must be dismissed pursuant to the recent opinion issued in Fourth

Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S.Ct. 881 (2019). However, this recent

United States Supreme Court decision is not applicable here, as the Fourth Estate opinion did not




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address circumstances where a plaintiff amends its complaint to add claims based on the

registration of copyrights that were never alleged as a basis for relief in the plaintiff’s initial

complaint; instead, it focused solely on amendments to add copyright infringement claims that

were improperly filed in the plaintiff’s initial complaint. Id. at 888. 13 Significantly, Defendants

cite no authority prohibiting the addition of a copyright registration where the prior complaint

did not assert infringement of the copyright application.

         In this case, Ubiquiti’s original Complaint did not allege infringement based on the airOS

6.0 Firmware and thus was never defective under Fourth Estate as to that copyright. Thus, the

analogy drawn in Fourth Estate – that pursuit of copyright infringement claims without

registration was tantamount to a failure to exhaust administrative remedies – does not hold up

where Ubiquiti complied with all preconditions of filing suit for the copyrights at issue in the

original complaint. In recognition of this distinction, courts have expressed a willingness to

allow amendments to add materials subject to newly issued copyright registrations where the

prior complaint did not assert infringement of that material. See, e.g., Stiletto Television, Inv. v.

Hastings, Clayton & Trucker, Incorporated, CV 18-3911 DSF (PLAX), 2019 WL 2619642, *2

(C.D. Cal. April 15, 2019) (denying leave to amend pleadings to add newly issued copyright

registration solely because leave was sought following deadline to amend pleadings). Finally,

acceptance of Defendants’ argument on this point would only serve to result in judicial

inefficiency, as dismissal of the airOS 6.0 claim due to a lack of registration at the time of the

original filing would require Ubiquiti to file an entirely new action in this district.             Such


13
  See also, e.g., Malibu Media, LLC v. Doe, 18-CV-19056 (JMF), 2019 WL 1454317, *1 (S.D.N.Y.,
April 2, 2019) (a prematurely filed copyright infringement claim cannot be cured by a post-registration
amendment and must be dismissed); Imzo v. Roadster, Inc., 18-cv-06092-NC, 2019 WL 2359228, *1
(N.D. Cal. June 4, 2019) (where an amended complaint revealed that only 11 of the 80 copyrights at issue
had been registered prior to the filing of the original complaint, the amendment cannot cure the defect of
non-registrability as to the remaining 69 copyrights alleged in the original complaint).


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inefficient procedural maneuvering is simply not required by the specific holding in Fourth

Estate. Thus, the motion to dismiss Ubiquiti’s claim based on airOS 6.0 should be denied.

II.      Defendants’ Motion Fails to Identify a Basis for Dismissal of Ubiquiti’s Non-GPL
         Based Claims.

         Even if it were to be granted, Defendants’ Motion would not be dispositive of all of the

claims in the FAC. 14 In the Motion, Defendants argue that Ubiquiti’s copyright infringement

and breach of contract claims fail to state a valid cause of action because all of the source code at

issue is covered by the GPL. Defendants then cursorily assert that this GPL defense applies to

all of the claims in the FAC. See Mem. at 27. But, Defendants are mistaken, as their Motion

(i) ignores the non-GPL based grounds for Ubiquiti’s false advertising claims, and

(ii) improperly asserts that the GPL terms cover all of Ubiquiti’s Firmware.

         First, even if Defendants’ GPL arguments were correct (which they are not), this alleged

defense is not dispositive of Ubiquiti’s false advertising claims premised on Defendants’

knowingly false statements and fraudulent marketing activities. In the Motion, Defendants argue

that if Ubiquiti fails to establish a proprietary interest in any of the Firmware, it cannot

demonstrate that statements Defendants made about how much of Ubiquiti’s Firmware is present

on a device after installing Elevate were false. See Mem. at 27. But this argument is simply

illogical. Should the ultimate fact-finder determine that all of the Firmware is covered by the

GPL, even Defendants admit that Ubiquiti would still be the author of any modifications. While

Ubiquiti would be prohibited from asserting copyright infringement over that code in such

circumstances, this prohibition would in no way somehow permit Defendants to continue to

make false statements to consumers about the amount of Ubiquiti’s Firmware that is present on



14
 Notably, this issue has also been addressed in Ubiquiti’s pending Motion to Lift Stay of Discovery. See
Dkt. No. 72 at 11-12.


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Ubiquiti’s devices after installing Elevate. Defendants point to no section of the GPL that would

permit such false statements.

       Moreover, the false advertising claims are fully supported by two additional categories of

allegations regarding Defendants’ false claims regarding (i) warranty coverage, and (ii) FCC

compliance. With respect to warranty coverage, the Motion is completely silent. This alone

precludes dismissal of those claims. With respect to FCC compliance, in a single conclusory

sentence, Defendants argue that Ubiquiti fails to specify the particular FCC rules that are

violated and thus, all allegations based on FCC compliance must be dismissed. Mem. at 27.

However, Defendants ignore the FAC’s detailed allegations on this point, in which Ubiquiti

alleges that each Ubiquiti M-series devices includes packaging and labels containing a unique

FCC identification number approved by the FCC, and that after installing Elevate, the devices

violate FCC regulations. See FAC ¶¶ 61-62 (“Specifically, Elevate alters the radio functionality

of Ubiquiti’s M-series devices causing them to transmit signals with characteristics that are not

allowed by the applicable equipment authorization.”). Defendants cite to no authority suggesting

anything more is required at the pleading stage. Moreover, the false statement about FCC

compliance is not about an Elevated device being compliant with a specific FCC regulation, but

instead is based on statements by Defendants that any “violation of applicable FCC regulations

caused by the installation of Elevate can be rectified by requesting that Ubiquiti provide the user

with a new FCC label.” Id. at ¶ 70. This false statement is simply not addressed in the Motion

and does not require any citation to a specific FCC regulation.

       Second, Defendants incorrectly assert that the GPL grants Defendants permission to

engage in all of the alleged breaching activity. See Mem. at 26. While the GPL code prohibits a

license from enforcing additional restrictions on the use of GPL code (Mem. Ex. 9 at 3), there is




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no prohibition in the GPL from Ubiquiti enforcing contractual restrictions, as contained in the

FULA and EULA, on the Proprietary Firmware which is not subject to the GPL. Accordingly,

Ubiquiti would be prohibited from asserting breach of contract with respect to any code covered

by the GPL. However, Ubiquiti is not making any such assertion as the terms of both the FULA

and EULA expressly do not apply to any code covered by the GPL. See FAC ¶¶ 42, 46. For

example, despite all of the errors present in the Fischer Declaration, Defendants do not point to

any third party GPL code used by Ubiquiti to create its user interface. Thus, the user interface is

not covered by the terms of the GPL (or any other open source license) and can properly be

subject to the restrictions set forth in the FULA and EULA. One of those restrictions prohibits

the use of Ubiquiti’s equipment after deletion of the user interface. See FAC ¶ 124. In short, if

after full fact and expert discovery, the ultimate fact finder concludes that all of the Proprietary

Firmware is covered by the GPL, then Defendants may have a defense against the breach of

contract claim; however, at the pleading stage, where Ubiquiti has clearly identified the

Proprietary Firmware, alleged it is covered by the terms of the FULA and EULA and not the

GPL, dismissal of the breach of contract claims is not warranted. 15

         Accordingly, for the reasons set forth herein, Defendants’ Motion fails to identify any

basis for dismissal of the following claims in the FAC:


15
   In passing, Defendants argue that if Ubiquiti is found to have itself breached one term of the GPL, all
alleged breaches of the FULA and EULA by Defendants are excused. See Mem. at 26. This novel theory
has no basis in the law. First, Defendants have no standing to assert any breach by Ubiquiti of the terms
of the GPL. Second, the mere fact that the FULA and EULA state that GPL code is covered by the GPL
(and not the FULA and EULA) does not transform Ubiquiti’s own compliance with the GPL it
independently entered into with third parties into a blanket defense to all breaches of the FULA and
EULA by defendants with respect to code not covered by the GPL. Finally, the Elda Arnhold & Byzantio
case cited by Defendants does not support this position, in particular given that the court in that action
stressed the importance analyzing the highly factual issue upon a review of all of the evidence presented
at trial, and not at the motion to dismiss stage. See Elda Arnhold & Byzantio, L.L.C. v. Ocean Atl.
Woodland Corp., 284 F.3d 693, 700 (7th Cir. 2002) (a party was entitled to terminate a contract for the
sale of a specific land for material breach after the other party failed to meet a material bargained for drop
dead payment date).


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       •   Count I: Breach of Contract claims based upon allegations of (i) use of the Firmware to
           violate FCC regulations (FAC ¶¶ 125) (ii) unauthorized use of portions of the Firmware
           that Ubiquiti licenses from third parties (such as Atheros) (FAC ¶¶ 124-125), and
           (iii) unauthorized use of the proprietary data contained in Ubiquiti’s configuration and
           calibration files (FAC ¶¶ 124);

       •   Counts V, VI, VII & VIII: False Advertising, Tortious Interference with Contract, Unfair
           Competition, and Intentional Interference with Prospective Economic Advantage claims
           based upon allegations of (i) false statements about use of Elevate being supported by
           warranty coverage from Ubiquiti (FAC ¶¶ 226, 233, 243, 252), and (ii) false statements
           about use of Elevate yielding Ubiquiti M- series devices that are FCC complaint (FAC ¶¶
           226, 233, 243, 252); and

       •   Counts X & XI: RICO 18 USC §§ 1962(c) & 1962(d) claims based upon mail and wire
           fraud due to Cambium’s false and misleading statements (FAC ¶¶ 270, 274), and
           Defendants’ conspiracy to promote Elevate through the same false and misleading
           statements (FAC ¶¶ 281, 291, 296).

III.       The Court Should Reject Defendants’ Request to Bifurcate Discovery and Convert
           Defendants’ Motion To A Motion For Summary Judgment.

           In apparent recognition of the inappropriateness of asking the Court to consider hundreds

of pages of material outside of the pleadings, as well as the disputed opinions of a retained

expert, Defendants have requested that the Court convert their Motion to a motion for summary

judgment under Rule 12(d) and order that discovery be bifurcated to focus solely on Defendants’

GPL defense while excluding any discovery regarding the alleged misconduct underlying

Ubiquiti’s affirmative claims. See Mem. at 27-29. This request for bifurcated, one-sided,

discovery should be denied for multiple reasons. 16

           First, Defendants’ request is procedurally improper.         Courts in this district have

consistently declined to convert motions to dismiss into motions for summary judgment at the




16
  This issue has also been addressed in Ubiquiti’s pending Motion to Lift Stay of Discovery. See Dkt.
No. 72 at 12-15. Significantly, however, Defendants’ response to that motion failed to mention (let alone
substantively respond to) the arguments and authority cited by Ubiquiti in opposition to Defendants’
request to bifurcate and limit discovery in this action. See generally Dkt. No. 75.


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early stages of litigation and prior to discovery. 17 Moreover, Rule 12(d) is not a vehicle to limit

discovery. Instead, it allows the Court to convert Defendants’ partial motion to dismiss into a

partial motion for summary judgment due to Defendants’ reliance on materials outside the

pleadings (such as the Fischer Declaration). 18 But, even if Defendants’ request were to be

granted under this rule, Defendants would be deemed to have submitted their partial motion for

summary judgment and it is Ubiquiti that would be the party allowed discovery in order to

respond to the motion. 19 Defendants’ proposal that Ubiquiti should be denied all discovery,

while granting Defendants’ one-sided request for discovery of data and documents from Ubiquiti

is simply backwards.

         Second, Defendants have failed to satisfy their burden of proof to bifurcate and limit

discovery under Federal Rule of Civil Procedure 26, which affords a district court the discretion

to limit discovery upon a showing of good cause in order to prevent “annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). A request for a protective



17
   See, e.g., Solis v. Caro, N.C., No. 11 C 6884, 2012 WL 1409558, *3 (N.D. Ill. Apr. 23, 2012)
(“although the Court has discretion to consider the materials and convert Caro’s motion into a , the Court
declines to do so here, where the parties are in the early stages of litigation and have not yet engaged in
discovery”) (citing Magellan Int’l Corp. v. Salzgitter Handel GmbH, 76 F.Supp.2d 919, 922 (N.D. Ill.
1999) (“converting a Rule 12(b)(6) motion into a Rule 56 motion for summary judgment ‘seldom makes
sense at the threshold stage of any litigation’”); see also Baker v. Lakin, No. 3:15-cv-600, 2016 WL
1696804, *3 (S.D. Ill. Apr. 5, 2016) (“allowing Defendants to proceed on a motion for summary
judgment at this juncture is premature, as Plaintiff has not had the opportunity to fully engage in
discovery to provide support for his allegations”).
18
  See Fed. R. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings
are presented to and not excluded by the court, the motion must be treated as one for summary judgment
under Rule 56. All parties must be given a reasonable opportunity to present all the material that is
pertinent to the motion.”).
19
   See, e.g., Covington v. Illinois Sec. Serv., Inc., 269 F.3d 863, 865 (7th Cir. 2001) (“the district court
should permit the parties to engage in discovery before converting (for all intents and purposes) a motion
to dismiss into one for summary judgment”); Hartford Underwriters Ins. Co. v. Guarantee Tr. Life Ins.
Co., No. 16 C 10478, 2017 WL 4535969, *4 (N.D. Ill. Oct. 10, 2017) (“when the Court utilizes materials
outside of the pleading to decide a motion to dismiss, it must first convert the motion into a motion for
summary judgment and permit applicable discovery”).


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order limiting discovery should be evaluated “against the backdrop of Rule 26(b)(1), which

generally permits broad ranging discovery of any non-privileged information that appears

reasonably calculated to lead to the discovery of admissible evidence.” Steadfast Ins. Co. v. Auto

Mktg. Network, Inc., No. 97 C 5696, 1999 WL 300231, *1 (N.D. Ill. May 3, 1999) (quotations

omitted). Thus, a party seeking a protective order that would limit the wide berth generally

given to discovery bears the burden of showing good cause by “a particular and specific

demonstration of fact, as distinguished from stereotyped and conclusory statements.” Id.

       As applied here, Defendants have failed to establish good cause to limit discovery. In the

Motion, Defendants claim that discovery will be “crippingly expensive” without any factual

support. See Mem. at 28. But, it is well established that such “stereotyped and conclusory

statements” are insufficient to warrant the entry of a protective order limiting discovery. See,

e.g., Steadfast, 1999 WL 300231 at *1; New England Carpenters Health & Welfare v. Abbott

Labs, No. 12C1662, 2013 WL 690613, *3 (N.D. Ill. Feb. 20, 2013). Moreover, in this particular

case bifurcation of discovery would likely increase (not decrease) the costs of litigation by, inter

alia, (i) leading to disputed motion practice regarding whether a specific discovery request is part

of the limited scope of discovery, and (ii) requiring the parties to complete duplicative discovery,

including the taking of multiple depositions of the same individuals at different stages of

discovery). See, e.g., Phillips v. United Parcel Serv., Inc., No. 08-13978, 2009 WL 3247856, *1

(E.D. Mich. Oct. 2, 2009) (adopting plaintiff’s concerns that limiting discovery to a threshold

issue will lead to “further litigation regarding the bounds of such a limitation” and will require

the plaintiff to “conduct certain discovery, such as depositions, twice”). Finally, Defendants’

bifurcation request would prejudice Ubiquiti in multiple respects, including by allowing

Defendants full discovery on one of their defenses while prohibiting Ubiquiti from seeking




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discovery on the merits of its own claims – all while further delaying Ubiquiti’s efforts to obtain

injunctive relief to put a stop to Defendants’ misconduct in the marketplace. See, e.g., id.

(holding that defendants’ requested bifurcation of discovery would be “prejudicial to Plaintiff, as

he would essentially be precluded from conducting discovery in his favor while Defendants

gather evidence in support of their defense”). In sum, any attempt to bifurcate discovery in the

manner suggested by Defendants would result in inefficiencies, increased costs and use of

judicial resources, and prejudice to Ubiquiti, and should be rejected.

IV.      Dismissal of the FAC with Prejudice Is Not Proper.

         In the Motion, Defendants ask the Court to dismiss the FAC with prejudice. As detailed

herein, this Motion should be denied as the FAC fully satisfies the Court’s directives in the

5/22/19 Order and the controlling standards under applicable law. Nevertheless, in the event that

the Court finds certain pleading deficiencies remain, Ubiquiti should freely be given leave to

further amend its complaint to remedy any such issues in accordance with under Rule 15(a). 20

                                            CONCLUSION

         For the foregoing reasons, the Court should deny Defendants’ Motion to Dismiss

Plaintiffs’ First Amended Complaint in full.


Dated: August 13, 2019                           Respectfully submitted by:


                                                 FOX SWIBEL LEVIN & CARROLL LLP

                                                 /s/ Jason J. Keener
                                                 David Koropp (ARDC #6201442)
                                                 dkoropp@foxswibel.com


20
  See, e.g., Barry Aviation Inc. v. Land O’Lakes Mun. Airport Comm'n, 377 F.3d 682, 687 (7th Cir. 2004)
(“[The] federal rule policy of decided cases on the basis of the substantive rights involved rather than on
technicalities requires the plaintiff be given every opportunity to cure a formal defect in his pleading. …
Amendments should be refused only if it appears to a certainty that plaintiff cannot state a claim.”).


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                              CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certify that I caused a copy of the foregoing
document to be served by electronic mail on all counsel of record on this 13th day of August,
2019.



                                                  /s/ Jason J. Keener

                                                  Jason J. Keener




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